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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

SAJ Group, LLC
                                    Plaintiff,
v.                                                    Case No.: 1:19−cv−02606
                                                      Honorable Robert W. Gettleman
Oettinger Davidoff AG, et al.
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, June 14, 2019:


       MINUTE entry before the Honorable Robert W. Gettleman: Defendant Biggs
Mansion LLC's unopposed motion to extend time to answer or otherwise respond to the
complaint [14] is granted. Biggs Mansion's responsive pleading due 6/14/2019. Motion
presentment hearing set for 7/29/2019 is stricken. Mailed notice (cn).




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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